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 4
                        UNITED STATES DISTRICT COURT
 5
                       EASTERN DISTRICT OF WASHINGTON
 6

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 8   SECURITIES AND EXCHANGE                            No.      2:19-CV-5242-RMP
     COMMISSION,
 9
                                                        CLERK’S ORDER OF DEFAULT
10                          Plaintiff,
11               vs.
12
     ANTON SENDEROV and LIOR
13   BABAZARA a/k/a/ LIOR BAR,
14
                            Defendants.
15

16
          It appearing that ANTON SENDEROV and LIOR BABAZARA have failed to
17

18
     answer, plead or otherwise defend against the complaint, ANTON SENDEROV’S and

19 LIOR BABAZARA’S defaults are hereby entered.

20
          DATED this 29th day of June 2020.
21

22
                                  By:     s/Sean F. McAvoy
23                                        Sean F. McAvoy
24                                        District Court Executive/Clerk of the Court
                                          United States District Court
25                                        Eastern District of Washington
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     CLERK’S ORDER OF DEFAULT               1
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     CLERK’S ORDER OF DEFAULT               2
